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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


KEITH EDWARDS, as guardian and
conser^ator for Jerry Blasingame,
                                                     CIVIL ACTION FILE
     Plaintiff,
                                                     No. 1:19-CV-2047-SCJ

V.




OFFICER J. GRUBBS # 6416 and
THE CITy OF ATLANTA/

     Defendants.




                                         ORDER

        This matter appears before the Court to perfect the record regarding post-


trial briefing for Defendants' renewed motions for judgment as a matter of law.


As stated in Court/ Defendants shall file their renewed motion on the docket by


August 26, 2022. Plaintiff shall have seven days to submit briefing regarding the

motion/ and Defendants shall have seven days to respond. Thus/ Plaintiff s brief


shall be filed by no later than September 2/ 2022, and Defendants' responsive brief


shall be filed by no later than September 9/ 2022.
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      This Order does not affect post-trial briefing scheduling regarding other

post-trial matters.



      IT IS SO ORDERED this 26A day of August/ 2022.



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                                     HONORABLE STEV^C. JONES
                                     UNITED STATES DISTRICT JUDGE
